Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 1 of 8




                         Exhibit A
Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 2 of 8




                         Exhibit A
Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 3 of 8




                         Exhibit A
Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 4 of 8




                         Exhibit A
Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 5 of 8




                         Exhibit A
Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 6 of 8




                         Exhibit A
Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 7 of 8




                         Exhibit A
Case 3:20-cv-00110-DPJ-FKB Document 21-1 Filed 07/27/20 Page 8 of 8




                         Exhibit A
